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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

Miko Peled, et al.,                                   )
                                                      )
                Plaintiffs,                           )
                                                      )
         v.                                           )   Case No. 1:17-cv-260 (RBW)
                                                      )
BENJAMIN NETANYAHU, et al.,                           )
                                                      )
                Defendants.                           )


                                 [PROPOSED] ORDER

         Upon consideration of Plaintiffs’ Motion For Leave to File an Amended

Complaint, for the reasons set forth therein, the Court is of the opinion and finds that the

Motion should be granted. Accordingly, it is this ______ day of _____________, 2017, it

is hereby:


         ORDERED that the Plaintiffs’ Motion for Leave to File an Amended Complaint

is granted,


         with the Amended Complaint to be filed by the ______ day of ________, 2017.




                                              ___________________________________

                                                 UNITED STATES DISTRICT JUDGE




	  
